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                                   UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA




CUNG LE ET AL,
                                                               No. C 14-05484 EJD
                Plaintiff (s),
         v.                                                    ORDER SETTING INITIAL CASE
                                                               MANAGEMENT CONFERENCE AND
ZUFFA, LLC ,                                                   ADR DEADLINES
                Defendant(s).



          IT IS HEREBY ORDERED that this action is assigned to the Honorable Edward J. Davila. When
 serving the complaint or notice of removal, the plaintiff or removing defendant must serve on all other
 parties a copy of this order    and all other documents specified in Civil Local Rule 4-2. Counsel must
 comply with the case schedule listed below unless the Court otherwise orders.

          IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute Resolution
 (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients shall familiarize
 themselves with that rule and with the material entitled ADispute Resolution Procedures in the Northern
 District of California@ on the Court ADR Internet site at cand.uscourts.gov/adr. A limited number of
 printed copies are available from the Clerk=s Office for parties in cases not subject to the court=s Electronic
 Case Filing program (ECF).

         IT IS FURTHER ORDERED that plaintiff or removing defendant serve upon all parties the
 brochure entitled AConsenting To A Magistrate Judge=s Jurisdiction In The Northern District Of
 California,@ additional copies of which can be downloaded from the following Internet site:
 http://www.cand.uscourts.gov.

                      CASE SCHEDULE -ADR MULTI-OPTION PROGRAM

  Date               Event                                                             Governing Rule

  12/16/2014         Complaint filed

  4/17/2015          *Last day to:                                                     FRCivP_26(f) & ADR
                     $ meet and confer re: initial disclosures, early settlement,      L.R.3-5
                        ADR process selection, and discovery plan

                     $ file ADR Certification signed by Parties and Counsel            Civil_L.R. 16-8 (b) &
                       (form available at cand.uscourts.gov)                           ADR L.R. 3-5(b)

                     $ file either Stipulation to ADR Process or Notice of Need        Civil_L.R. 16-8 (c) &
                       for ADR Phone Conference (form available at                     ADR L.R. 3-5(b) & (c)
                       cand.uscourts.gov)

  5/1/2015           Last day to file Rule 26(f) Report, complete initial              FRCivP 26(a) (1) Civil
                     disclosures or state objection in Rule 26(f) Report and file      _L.R . 16-9
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                    Case Management Statement per attached Standing Order re
                    Contents of Joint Case Management Statement (also
                    available at cand.uscourts.gov)

5/8/2015            INITIAL CASE MANAGEMENT CONFERENCE                                          Civil _L.R. 16-10
                    (CMC) in Courtroom 4, 5th Floor, SJ at 10:00 AM

  * If the Initial Case Management Conference is continued, the other deadlines are continued accordingly.
